UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL. CIVIL ACTION NO.:
VERSUS 21-242-WBV-SDJ
LOUISIANA STATE UNIVERSITY, ET AL.

MOTION TO ENROLL COUNSEL OF RECORD
NOW INTO COURT, through undersigned counsel, comes Edward J. Orgeron, Jr., who
respectfully moves this Honorable Court to enroll Stephanie B. Laborde and Benjamin M.
Chapman of the law firm of Milling Benson Woodward, L.L.P., 6421 Perkins Road, Building B,
Suite B, Baton Rouge, Louisiana 70808, as counsel of record in this matter on his behalf.
WHEREFORE, after due consideration is had, Edward J. Orgeron, Jr. respectfully

requests that his Motion to Enroll Counsel of Record be granted.

Respectfully submitted,

JEFF LANDRY
ATTORNEY GENERAL

/s/ Stephanie B. Laborde
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Attorneys for Edward J. Orgeron, Jr.

 
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the above and foregoing has been electronically
filed with the United States District Court via the Court’s CM/ECF system on August 18, 2021,
and Notice of Electronic Filing sent to all interested parties by operation of same.

/s/ Stephanie B. Laborde

 

 
